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THE LAW FIRM OF                                                     The District
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March 29, 2023
Via ECF
The Honorable Analisa Torres
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl St.
New York, New York 10007

                      Re:    United States v. Brian Kolfage, 20 Cr. 412 (AT)

Dear Judge Torres,
I move the Court, with the government and Pre-Trial Services' consent, to grant Mr. Kolfage
permission to travel to Daphne, Alabama on March 31, 2023, for the weekend to attend a
baseball tournament in which his minor son is participating. If granted permission, Mr. Kolfage
will drive to Alabama on March 31, 2023, and return to Florida on April 2, 2023. The details of
where he will be staying will be provided to Pretrial Services.
Accordingly, I respectfully request that Mr. Kolfage be granted permission to travel to and from
Alabama on the above dates.


Respectfully submitted,
       /s/
César de Castro




cc:    All counsel of record (via ECF)
